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 1                                      INTRODUCTION
 2         1. This is a RICO and civil rights action brought under 42 U.S.C. §1962, 42
 3   U.S.C. §§1983 and 1985, and various related state laws by Plaintiffs against the City of
 4
     Maywood, the Maywood-Cudahy Police Department, and their employees individually
 5
     and in their official capacities, for injunctive relief and compensatory and punitive
 6
     damages because of a continuing systematic abuse of authority, including but not limited
 7
     to unlawful searches and seizures of person and property; wrongful detentions and
 8

 9   arrests, falseimprisonments, maliciousprosecutions, cover ups, false reportwriting, use

10   of excessive and unnecessary force, sexual assaults and other acts of lawlessness.
11   Plaintiff(s) first filed this action in Gonzalez v. City of Maywood, CV 07 3469 ODW
12   (Shx), on May 29, 2007; on January 28, 2008, the Court ordered the Plaintiffs’ actions
13   be severed and refiled as a separate case.
14
                                         JURISDICTION
15
           2. This case is brought pursuant to 18 U.S.C. § 1961 and 42 U.S.C. §§ 1983,
16
     1985 and 1986. Jurisdiction is based upon 28 U.S.C. §§ 1331 and 1343 (1-4). This
17
     court also has supplemental jurisdiction over the state claims and over defendants
18

19   pursuant to 28 U.S.C. § 1367. Plaintiffs are victims of City of Maywood employees

20   acting under color of law and within the scope of their authority and pursuant to the
21   policies and practices of the entities.
22                                             VENUE
23         3. The claims alleged herein arose from events or omissions occurring in the
24
     County of Los Angeles. Therefore, venue lies in the Central District of California. 28
25
     U.S.C. 1391(b)(2).
26
                                          PLAINTIFFS
27
           4. Plaintiffs are residents of the County of Los Angeles, State of California. At
28

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 1   all times material to this complaint, Plaintiffs were private persons in the State of
 2   California, United States of America.
 3                                       DEFENDANTS
 4
           5. Plaintiffs are informed and believe and thereon allege that at all times herein
 5
     mentioned defendants City of Maywood, the Maywood-Cudahy Police Department, and
 6
     Does 1 through 5, were and are public entities duly organized and existing as such under
 7
     the laws of and within the State of California under the laws of the United States and the
 8

 9   laws of the State of California.

10         6. Plaintiffs are informed and believe and thereon allege that at all times herein
11   mentioned defendants Bruce Leflar, Paul Pine, and Does were and/or are police
12   supervisors and/or policymakers for the City ofMaywood, the Maywood-Cudahy Police
13   Department and Does 6 through 15, and in such capacity were/are managersand/or chief
14
     administrators and/or policy makers. The named entities, supervisors and Does are
15
     responsible for, among other things, the employment, discharge, training, supervision,
16
     control, assignment and discipline of all sworn and civilian personnel of their entities
17
     and the formulation,       promulgation, adoption, application, implementation,
18

19   administration, enforcement and revocation of the policies and practices of the named

20   entities and Does.
21         7. Plaintiffs are informed and believe and thereon allege that the actions of named
22   and Doe supervisors were committed while employed by the entities and represent the
23   customs, practices and policies of the entities.       The acts herein described and
24
     complained of were committed and done pursuant to policies, rules, regulations,
25
     practices, customs, and/or usages (hereinafter "policies and practices") of the entities
26
     and were created and enforced by the managers and/or supervisors and/or policy makers.
27
           8. Plaintiffs are informed and believe and thereon allege that the defendants
28

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 1   Alvarez and Does are individual officers or agents of the City of Maywood and/or the
 2   Maywood-Cudahy Police Department and/or others at the times of the acts herein
 3   complained of.
 4
           9. The true names and capacities of defendants Does 1-30 are presently unknown
 5
     to plaintiffs; who therefore sue each of these defendants by such fictitious names; but
 6
     upon ascertaining the true identity and/or liability of a defendant Doe, Plaintiffs will
 7
     amend this Complaint or seek leave to do so by inserting the true name in lieu of the
 8

 9   fictitious name. Plaintiffs are informed and believe and thereon allege that each

10   defendant Doe herein is in some manner responsible for the injuries and damages herein
11   complained of.
12                                   INCORPORATION
13         10. The above paragraphs are hereby repeated, realleged and incorporated by this
14
     reference in each cause of action.
15
                   FACTS COMMON TO ALL CLAIMS FOR RELIEF
16
           11. On or about January 5, 2007, Alvarez and other unknown Doe officers,
17
     numbering between five and eight, wrongly detained, arrested, assaulted, battered,
18

19   threatened and searched Freddie Barajas, Jesus Jimenez, Marvin Tejeda, Eder Jimenez

20   and Jordan Payan at 3551 East 53rd Street in Maywood, and wrote false reports about
21   them for the purpose of malicious prosecution.        Defendants unlawfully entered
22   Plaintiffs’ home. Eder Jimenez obviously suffers from Downs Syndrome and defendants
23   traumatized him badly. Defendants wrote Plaintiffs tickets for obstructing the sidewalk
24
     when none of these Plaintiffs were on the sidewalk until police ordered them there.
25
     Defendants screamed at Plaintiffs, forced them to the ground, and falsely accused them
26
     of having weapons, drugs and being gang members.
27
           12. Plaintiffs are informed and believe and thereon allege that defendants'
28

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 1   wrongful conduct included but is not limited to fraud, fraud by wire, obstruction of
 2   justice, kidnaping and bribery.
 3         13. Plaintiffs are informed and believe there are numerous other similar victims
 4
     of defendants' wrongful acts who are afraid to seek, and/or unable to seek redress
 5
     because of their reasonable fears of retaliation, and/or because they are recent
 6
     immigrants who are reasonably concerned about the lawfulness of their status, and/or
 7
     because they are unable to find representation.
 8

 9         14. Plaintiffs complied with the provisions of the California Tort Claims Act.

10                             The Maywood Police Department
11         15.     Plaintiffs are informed and believe and thereon allege that the
12   Maywood-Cudahy Police Department has for years been a department composed of
13   persons not conforming their conduct to the requirements of the law, or to established
14
     standards of proper police practices.
15
           16. Plaintiffs are informed and believe and thereon allege that the defendants,
16
     officers and supervisors within the Maywood-Cudahy Police Department, invidiously
17
     singled out, targeted and violated the rights of recent immigrants and/or persons
18

19   defendants perceived to be recent immigrants because defendants knew that recent

20   immigrants were easy victims, afraid to exercise their rights, and readily subject to
21   retaliation if they attempted to exercise their rights.
22         17. Plaintiffs are informed and believe and thereon allege that the violations of
23   individuals' rights by Maywood-Cudahy officers occurred not because of a few "bad
24
     apples" but is instead the result of a culture of lawlessness permeating the entities and
25
     constituting and/or proximately caused by their routine practices, including a code of
26
     silence and conspiracy to obstruct justice.
27
           18.     Plaintiffs are informed and believe and thereon allege that the
28

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 1   Maywood-Cudahy police department regularly hires police officers who have been
 2   pushed out of other law enforcement agencies for crimes or serious misconduct,
 3   including but not limited to: A former Los Angeles County sheriff's deputy terminated
 4
     for abusing jail inmates; a onetime Los Angeles Police Department officer fired for
 5
     intimidating a witness; and an ex-Huntington Park officer charged with negligently
 6
     shooting a handgun and driving drunk.
 7
            19. Plaintiffs are informed and believe and thereon allege, based in part upon
 8

 9   allegations contained in a Superior Court complaint filed by Maywood-Cudahy Officer

10   Pablo Cunningham, one of the named defendants in this action (and in many other
11   federal civil rights actions, as alleged below), that supervisors required officers to
12   "engage in racial profiling and quotas," and that Cunningham was "threatened by [
13   Police Chief Bruce] Leflar with loss of his job after he refused to engage in racial
14
     profiling." Plaintiffs are informed and believe that Cunningham was fired by the
15
     Maywood-Cudahy Police Department and then rehired because he threatened to expose
16
     improprieties within the department.
17
            20. Plaintiffs are informed and believe and thereon allege, as pleaded by
18

19   Defendant Cunningham his Superior Court complaint, that defendants covered up

20   misconduct including excessive force, promoted a code of silence and conspiracy to
21   obstruct justice, hired people unfit to be officers (for improper reasons, including but not
22   limited to their connections to other City officials), extorted people for sex, and took
23   kickbacks and bribes.
24
            21. Plaintiffs are informed and believe and thereon allege that official public
25
     records document that Pine resided in an apartment owned by the proprietors of a tow
26
     yard. Plaintiffs are informed and believe that the tow yard owner is Maywood Club
27
     Tow.
28

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  1         22. Plaintiffs are informed and believe that Pine was permitted to live in the
  2   apartment as a quid pro quo for Pine's assistance in causing the towing, impoundment,
  3   and sale of vehicles, for the illicit gain of Pine, the City of Maywood, the
  4
      Maywood-Cudahy Police Department, Does, and others.
  5
            23. Plaintiffs are informed and believe and thereon allege that Maywood Club
  6
      Tow and/or its owners and/or Does gave money and/or things of value to defendants as
  7
      a quid pro quo for the assistance and cooperation of defendants in causing the towing,
  8

  9   impoundment, and sale of vehicles.

 10         24. Plaintiffs are informed and believe that governing officials of the City of
 11   Maywood received money and/or things of value from Maywood City Tow and/or its
 12   owners, and/or Does as a quid pro quo for, among other things, starting, continuing,
 13   implementing and/or protecting defendants' illicit vehicle towing scheme.
 14
            25. Plaintiffs are informed and believe that the Cities of Maywood and Cudahy
 15
      and the Maywood-Cudahy Police Department did a land-office business with Maywood
 16
      Club Tow, towing, impounding, confiscating, and selling vehicles, and reaping huge
 17
      profits in doing so, and that Pine and other defendants were personally involved in this
 18

 19   illicit, fraudulent and criminal practice, including the conduct of supposed hearings to

 20   determine whether vehicles should be returned to their owners. The involvement of
 21   defendants including Pine in the hearings made them unfair and deprived vehicle owners
 22   of due process of law.
 23         26. Plaintiffs are informed and believe and thereon allege that existence of graft
 24
      and corruption, and the knowledge of the graft and corruption, within the
 25
      Maywood-Cudahy Police Department and the City of Maywood, including but not
 26
      limited to the illicit, fraudulent and criminal scheme to tow, impound and sell vehicles,
 27
      made it difficult and/or impossible for any supervisor to exercise meaningful
 28

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  1   supervision and/or to discipline officers who abused people and violated the law, for
  2   fear that officers would blow the whistle on the corruption and nepotism including but
  3   not limited to the vehicle towing scheme, if any meaningful discipline were threatened
  4
      or imposed and proximately caused, fostered and contributed to the code of silence and
  5
      conspiracy to obstruct justice within the department.
  6
            27. Plaintiffs are informed and believe that the code of silence and defendants’
  7
      conspiracy to obstruct justice, and an absence of meaningful supervision and discipline,
  8

  9   was each a proximate cause of defendants’ violations of Plaintiffs’ rights.

 10         28.    Plaintiffs are informed and believe and thereon allege that the
 11   Maywood-Cudahy Police Department does not have adequate procedures to supervise
 12   and/or discipline its employees, including but not limited to the following:
 13                a.   Inadequate reporting requirements, including but not limited to
 14
            inadequate use-of-force reporting;
 15
                   b. Inadequate procedures for documenting and investigating citizens'
 16
            complaints, including but not limited to refusing to accept citizens' complaints,
 17
            failing adequately to documents citizens' complaints, failing to investigate
 18

 19         citizens' complaints, and failing to respond to court orders requiring defendants

 20         to disclose citizens' complaints.
 21         29. Failures by all the supervisor, manager and policy-making defendants to
 22   provide oversight over the Maywood-Cudahy police, to make them follow the
 23   requirements of the Constitution, and/or to stop officers from making false charges
 24
      against innocent persons and lying to support false charges, among other things, make
 25
      those defendants liable to plaintiffs.
 26
            30. Plaintiffs are informed and believe that all the injunctive relief prayed for in
 27
      this complaint is necessary to stop the wide-scale violation of peoples' rights by
 28

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  1   defendants.
  2                              Scope and Nature of Allegations
  3          31. Plaintiffs are informed and believe and thereupon alleges that officials,
  4
      supervisors, policy makers and other individuals with the authority to set or modify
  5
      municipal and/or departmental policy, dejure or defacto, of Defendant City of
  6
      Maywood, participated in, approved of, ratified and/or failed to prevent the acts by
  7
      Defendants City of Maywood, Maywood-Cudahy Police Department, Bruce Leflar, Paul
  8

  9   Pine, Cunningham and Does 1-30, complained of by Plaintiffs.

 10          32. Plaintiffs are informed and believe and thereon allege that at all times herein
 11   mentioned, each of the defendants; including officials, supervisors, watch commanders
 12   and other policy makers from Defendant City of Maywood; was the agent, employee or
 13   co-conspirator of one other, some, or all of their Co-defendants. Plaintiffs are informed
 14
      believe and thereupon allege that each of the defendants, acting individually, and in
 15
      concert with each other, engaged in a common plan wrongfully to deprive Plaintiffs of
 16
      Plaintiffs’ rights to: security in Plaintiffs’ person, property and effects, freedom from
 17
      unreasonable searches and seizures, equal protection and due process of law, and of the
 18

 19   right to seek redress and obtain compensation for the wrongs committed against

 20   Plaintiffs.
 21          33. In doing each and all of the things herein mentioned, or neglecting or
 22   intentionally failing to rectify said misconduct, each and all defendants were acting
 23   pursuant to a defacto policy and within the scope of such agency, employment and
 24
      conspiracy and with full permission, knowledge, approval, ratification and support of
 25
      each other.
 26
                                              Damages
 27
             34. By reason of the aforementioned acts of defendants, and each of them,
 28

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   1   Plaintiffs were injured in Plaintiffs’ health, strength and activity, sustained great mental
   2   pain, suffering and shock to Plaintiffs’ nervous systems, torment, anxiety, anguish,
   3   humiliation and severe emotional distress, all to Plaintiffs’ damage in an amount
   4
       according to proof at trial. As a proximate result of the foregoing wrongful acts of
   5
       defendants, and each of them, property belonging to Plaintiffs were damaged and
   6
       destroyed in an amount according to proof.
   7
             35. Plaintiffs are informed and believe and thereon allege that, by reason of the
   8

   9   aforementioned acts of defendants and each of them, Plaintiffs were and/or will in the

  10   future be required to receivehospital, medical, doctor, nursing, dental and psychological
  11   care and treatment, and by reason thereof, will incur expenses related thereto in an
  12   amount according to proof at trial.
  13         36. By reason of defendants’ wrongful acts, Plaintiffs were injured in Plaintiffs’
  14
       businesses and/or property, including but not limited to being unable to work and earn
  15
       money, and Plaintiffs will in the future be injured in Plaintiffs’ business and/or property
  16
       by sustaining a loss and impairment of earnings and earning capacity, in an amount
  17
       according to proof at trial. By reason of defendants’ code of silence and conspiracy to
  18

  19   obstruct justice, defendants have damaged, impaired and reduced the value ofPlaintiffs’

  20   property interests, including but not limited to Plaintiffs’ property interest in his right
  21   and/or causes of action to obtain redress and compensation for the wrongs committed
  22   against Plaintiffs.
  23         37. Defendants acts were done and committed by each individual defendant
  24
       knowingly, deliberately and maliciously with the intent to oppress, injure and harass
  25
       Plaintiffs (with the exception of the claims by Plaintiffs based on negligence) and with
  26
       reckless indifference to Plaintiffs’ civil rights, personal security and safety, and by
  27
       reason thereof, Plaintiffs prays for punitive and exemplary damages from and against
  28

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   1   individual defendants and each of them in an amount according to proof at trial.
   2                                 CLAIMS FOR RELIEF
   3                             FIRST CLAIM FOR RELIEF
   4                  BY PLAINTIFFS AGAINST ALL DEFENDANTS
                     (Violation of RICO Statute - 18 U.S.C. §§ 1962(c), (d))
   5

   6         38. This cause of action is brought by Plaintiffs for treble damages for injury to
   7   his business or property including but not limited to lost employment and accrued
   8   interest resulting from the conduct alleged herein, which violates the provisions of 18
   9
       U.S.C. §§ 1961-1968 (hereafter "RICO").
  10
             39. The following constitute an enterprise within the meaning of RICO generally
  11
       and 18 U.S.C. § 1961(4) specifically:
  12
                    a. The Maywood-Cudahy Police Department;
  13

  14                b. The City of Maywood;

  15                c. Maywood Club Towing Company;
  16                d. The Association in Fact of defendants City of Maywood, Maywood-
  17         Cudahy Police Department, Maywood Club Towing Company (“the AIF
  18         Enterprise”).
  19
             40. Plaintiffs are informed and believe and thereon allege that each enterprise
  20
       alleged herein is an entity distinct from the pattern of racketeering activity alleged
  21
       herein; is or was an ongoing organization, formal or informal; and functions or
  22
       functioned as a continuing unit, to wit:
  23

  24
                    a. The City of Maywood is a public entity with a formal structure and

  25         capacity engaging in a wide range of activities, only part of which entails the

  26         pattern of racketeering activity alleged in this complaint. The defendants charged
  27         with operating it under 42 U.S.C. § 1962 (c) were animated by, among other
  28

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   1       things, engaging in bribery, obstruction of justice, and fraud.
   2             b. The Maywood-Cudahy Police Department is a subdivision of the City
   3       of Maywood and City of Cudahy whose charge is enforcement of the laws of the
   4
           State of California and the Cities of Maywood and Cudahy, in which capacity it
   5
           has a formal structure and engages in a wide range of activities, only part of
   6
           which entails the pattern of racketeering activity alleged in this complaint. The
   7
           defendants charged with operating it under 42 U.S.C. § 1962 (c) were animated
   8

   9       by, among other things, bribery, extortion, obstruction of justice, and kidnaping.

  10             c. Maywood Club Towing Company is a formally organized business
  11       entity engaged in the business of towing and impounding vehicles under a variety
  12       of circumstances, only part of which entails the pattern of racketeering activity
  13       alleged in this complaint. The defendants charged with operating it under 42
  14
           U.S.C. § 1962 (c) were animated by, among other things, the common purpose of
  15
           unlawfully impounding vehicles in order to collect and receive the illegal charges
  16
           resulting from the impound, and implemented the illegal scheme by mail fraud
  17
           and bribery.
  18

  19             d. The AIF Enterprise had an ascertainable structure, comprised of the

  20       Maywood-Cudahy Police Department, Maywood Club Towing Company, and the
  21       key individuals who directed the enterprise’s unlawful activities which included
  22       but are not limited to Pine and Does. This structure was distinct from the pattern
  23       of racketeering activity in that the enterprise’s activities encompassed both lawful
  24
           and unlawful activities. The AIF Enterprise’s associates were animated by
  25
           common purposes, including but not limited to unlawfully and fraudulently
  26
           impounding vehicles to collect and receive the illegal charges resulting from the
  27
           impound and receive kickbacks, and to cover up and conceal their activities by
  28

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   1         obstructing justice in state and federal civil and criminal proceedings by means
   2         of a code of silence. The AIF Enterprise functioned as a continuing unit with
   3         continuity in both structure and personnel.
   4
             41. The activities of the enterprises affect interstate commerce in numerous ways,
   5
       including but not limited to: 1) the use of interstate mail, telephone and wires (including
   6
       transmission and dissemination of false arrests and false criminal charges); 2) the
   7
       purchase of materials for use in the enterprises which materials were in the stream of
   8

   9   interstate commerce; 3) the provision of federal funds to the Maywood-Cudahy Police

  10   Department, received through the stream of interstate commerce; 4) oversight by federal
  11   governmental entities of various of the activities of the Maywood-Cudahy Police
  12   Department and/or the City of Maywood, involving interstate travel and the expenditure
  13   of funds through the stream of interstate commerce; 5) the interstate travel of various
  14
       of the owners of impounded vehicles to retrieve their impounded vehicles or attempt to
  15
       do so; 6) the travel, paid from proceeds of the pattern of racketeering activity alleged
  16
       herein, of members of the Maywood-Cudahy Police Department from California to Las
  17
       Vegas; 7) the purchase of tow trucks, and gasoline and equipment for said trucks, used
  18

  19   in furtherance of the pattern of racketeering activity alleged herein that reached the

  20   purchasers through the stream of interstate commerce.
  21         42. Defendants’ racketeering activities included but are not limited to the
  22   following:
  23                a. Condoning and encouraging the fabrication of evidence including but
  24
             not limited to the filing of materially false police reports in tended to be used in
  25
             state and federal civil and criminal proceedings;
  26
                    b. Condoning and encouraging a "code of silence," which keeps and/or
  27
             dissuades employees from reporting the misdeeds of fellow employees, and/or
  28

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   1         causes and/or facilitates the preparation, submission and use of false official
   2         reports, and/or making false official statements, and/or perjury; and which thereby
   3         obstructs justice in official proceedings, including but not limited to state and
   4
             federal criminal investigations and proceedings, and/or state and federal civil
   5
             investigations and proceedings;
   6
                   c. Condoning and encouraging officers in the belief that their failure or
   7
             refusal to participate in the "code of silence" or to cover up or conceal the
   8

   9         misconduct of other officers will cause them to be ostracized by other officers,

  10         will adversely affect their ability to get support from other officers in dangerous
  11         and/or life-threatening situations in the field and will adversely affect their
  12         opportunities for promotion and other employment benefits, and which thereby
  13         obstructs justice in official proceedings, including but not limited to state and
  14
             federal criminal investigations and proceedings, and/or state and federal civil
  15
             investigations and proceedings;
  16
                   d. Condoning and encouraging the acceptance of "gratuities," "kickbacks,"
  17
             and/or other wrongful and/or illicit compensation, which has the effect of
  18

  19         strengthening defendants’ code of silence and conspiracy to obstruct justice by

  20         making all department employees, including but not limited to supervisors,
  21         vulnerable to accusations of misconduct and unable and/or unwilling to
  22         accurately report misconduct, and/or to supervise and/or discipline subordinates.
  23         43. Plaintiffs are informed and believe that defendants’ code of silence and
  24
       conspiracy to obstruct justice is and was operative in many state and federal
  25
       proceedings, including but not limited to the following federal cases:
  26
                   a. Jose Rodriguez and Guillermo De La Torre v. City of Maywood, CV
  27
             99-9898 CBM (Ex);
  28

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   1                  b. Ortiz v. City of Maywood, Pablo Cunningham, et.al.,CV 06-3622 DSF
   2         (FMOx);
   3                  c. Flores v. City of Maywood, Pablo Cunningham, CV 04-7565 GPS (Ex)
   4
                      d. Pacheco v. City of Maywood, Pablo Cunningham, et.al., CV 06-7613
   5
             PSG (FFMx);
   6
                      e. Cruz v. City of Maywood, Paul [Pablo] Cunningham, CV 07-1999 PSG
   7
             (JCx);
   8

   9                  f. Sena v. City of Maywood, et.al., CV 07-1724 AHM (Jcx);

  10                  g. Trujillo v. City of Maywood, et.al., CV 06-2738 PA (VBKx);
  11                  h. Gonzalez v. City of Maywood, et.al., CV 05-6953 RJK (VBKx);
  12                  i. Anderson (Estate) v. City of Maywood, et.al., CV 04-10119 RGK (Shx);
  13                  j. Densmore v. Maywood, et.al., CV 06-3535 PSG (RZx).
  14
                                  SECOND CAUSE OF ACTION
  15                        (Violation of Civil Rights - 42 U.S.C. § 1983)
                                 Monell and Supervisorial Liability
  16
             44. Plaintiffs are informed and believe and thereon allege that at all times herein
  17
       mentioned, above named defendants with deliberate indifference, gross negligence
  18

  19   and/or reckless disregard for the safety, security and constitutional and statutory rights

  20   of Plaintiffs maintained, enforced, tolerated, permitted, acquiesced in, and/or applied
  21   inter alia policies and practices which included directing and controlling the unlawful
  22   acts complained of herein.
  23         45. Said defendants and each of them, acting under color of state law, have
  24
       deprived Plaintiffs of rights, privileges, and immunities secured by the Constitution and
  25
       laws of the United States, in particular by the First, Fourth, Fourteenth Amendments to
  26
       the United States Constitution by inter alia maintaining, enforcing, tolerating,
  27
       permitting, acquiescing and, and/or applying the policies and practices set forth above.
  28

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   1   As a direct and proximate result of those policies and practices, Plaintiffs sustained
   2   injury and damage as described herein.
   3         46. Plaintiffs are informed and believe and thereon allege that the supervisorial
   4
       defendants ordered, authorized, acquiesced in, tolerated, or permitted other defendants
   5
       herein to engage in the unlawful and unconstitutional actions, policies, and practices set
   6
       forth above. Defendants' conduct alleged herein constitutes a pattern of illicit law
   7
       enforcement behavior, and statutory and constitutional violations based either on a
   8

   9   deliberate plan by defendants or on defendants' deliberate indifference, gross

  10   negligence, or reckless disregard for the safety, security and constitutional and statutory
  11   rights of Plaintiffs which violations include:
  12                a. Stopping, detaining, and/or arresting people and/or entering homes,
  13         and/or searching and/or seizing property and people, without required warrants,
  14
             reasonable suspicion and/or probable cause;
  15
                    b. Using unreasonable and/or excessive force;
  16
                    c. Allowing and/or encouraging employees to brutalize, hurt and/or injure
  17
             members of the public, by failing to require effective use-of-force training,
  18

  19         supervision, discipline and reporting, including but not limited to not requiring

  20         employees to report uses of force, by permitting and/or encouraging false and/or
  21         misleading and/or incomplete reporting, and/or by failing adequately to monitor
  22         employee uses of force;
  23                d. Condoning, tolerating and/or acquiescing in officers' engaging in racist
  24
             conduct and/or racially motivated attacks on minority members of the community,
  25
             and/or using racist speech when speaking with minorities and/or denigrating the
  26
             race and/or nationality of minority members of the community;
  27
                    e. Condoning, tolerating and/or acquiescing in officers' sexually abusing
  28

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   1       members of the community, including minors;
   2             f.   Failing adequately to investigate incidents involving the use of
   3       unreasonable force and/or other misconduct;
   4
                 g. Conducting investigations in such a manner as to conceal misconduct,
   5
           including but not limited to using investigative techniques and procedures known
   6
           to have that effect;
   7
                 h. Condoning and encouraging the fabrication of evidence including but
   8

   9       not limited to the filing of materially false police reports;

  10             i. Condoning and encouraging a "code of silence," which keeps and/or
  11       dissuades employees from reporting the misdeeds of fellow employees, and/or
  12       causes and/or facilitates the preparation, submission and use of false official
  13       reports, and/or making false official statements, and/or perjury; and which thereby
  14
           obstructs justice in official proceedings, including but not limited to state and
  15
           federal criminal investigations and proceedings, and/or state and federal civil
  16
           investigations and proceedings;
  17
                 j. Condoning and encouraging officers in the belief that their failure or
  18

  19       refusal to participate in the "code of silence" or to cover up or conceal the

  20       misconduct of other officers will cause them to be ostracized by other officers,
  21       will adversely affect their ability to get support from other officers in dangerous
  22       and/or life-threatening situations in the field and will adversely affect their
  23       opportunities for promotion and other employment benefits, and which thereby
  24
           obstructs justice in official proceedings, including but not limited to state and
  25
           federal criminal investigations and proceedings, and/or state and federal civil
  26
           investigations and proceedings;
  27
                 k. Condoning and encouraging the acceptance of "gratuities," "kickbacks,"
  28

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   1         and/or other wrongful and/or illicit compensation, which has the effect of making
   2         supervisors within the department vulnerable to accusations of misconduct and
   3         unable and/or unwilling to effectively supervise and/or discipline subordinates;
   4
                    l. Hiring individuals who are unsuited for police work, including but not
   5
             limited to hiring individuals who have been fired or disciplined by other law
   6
             enforcement agencies because they engaged in misconduct; and/or failing to
   7
             conduct appropriate and/or required background investigations.
   8

   9         47. Defendants and each of them, acting under color of state law, have deprived

  10   Plaintiffs of rights, privileges, and immunities secured by the Constitution and laws of
  11   the United States, in particular by the First, Fourth, and Fourteenth Amendments to the
  12   United States Constitution by inter alia maintaining, enforcing, tolerating, permitting,
  13   acquiescing and, and/or applying the policies and practices set forth above. As a direct
  14
       and proximate result of those policies and practices, Plaintiffs have sustained injury and
  15
       damage as described hereinafter.
  16
             48. Plaintiffs are informed and believe and thereon allege that defendant entities
  17
       and supervisorial defendants ordered, authorized, acquiesced in, tolerated, or permitted
  18

  19   other defendants herein to engage in the unlawful and unconstitutional actions, policies,

  20   and practices set forth above. Defendants' conduct alleged herein constitutes a pattern
  21   of intimidation, illicit law enforcement behavior, and statutory and constitutional
  22   violations based either on a deliberate plan by defendants or on defendants' deliberate
  23   indifference, gross negligence, or reckless disregard for the safety, security and
  24
       constitutional and statutory rights of Plaintiffs.
  25
                                   THIRD CAUSE OF ACTION
  26                       (Violation of Civil Rights - 42 U.S.C. § 1983)
                           Against All Individually Named Defendants
  27
             49. Defendants and each of them, acting under color of state law, did without
  28

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   1   probable cause and by use of excessive force unlawfully detain, arrest, batter, search,
   2   molest and write false reports about Plaintiffs, and did do all of the above in a
   3   conspiratorial manner for the purpose of illegally obtaining criminal conviction(s)
   4
       against Plaintiffs and to conceal their own wrongdoing and did also do so to intimidate
   5
       Plaintiffs’ witness(es) in said criminal prosecutions for the same improper purposes, all
   6
       of which were intended with deliberate indifference of and reckless disregard for
   7
       Plaintiffs’ constitutional rights under the First, Fourth and Fourteenth Amendments to
   8

   9   the United States Constitution. As a direct and proximate result of defendants' acts,

  10   Plaintiffs sustained injury and damage as set forth herein.
  11                            FOURTH CAUSE OF ACTION
                                (Violation of 42 U.S.C. §1985(2))
  12                       Against All Individually Named Defendants
  13         50. Defendants, and two or more of them, in the State of California, County of
  14
       Los Angeles, and City of Maywood-Cudahy, by reason of Defendants' animus against
  15
       minorities, including Plaintiffs’ Latino heritage and invidious animus, conspired
  16
       together to act and to fail and omit to act as hereinbefore alleged, for the purpose of (I)
  17
       impeding, hindering, obstructing, and defeating the due course of justice in the State of
  18

  19   California and County of Los Angeles, (ii) to deny Plaintiffs Plaintiffs’ right to free

  20   speech, (iv) to deny equal protection of the laws to Plaintiffs and (v) to subject
  21   Plaintiffs’ persons and property to unlawful search and seizure thereby depriving
  22   Plaintiffs of immunities secured by the Constitution and the laws of the United States,
  23   including the First, Fourth and Fourteenth Amendments to the Unites States
  24
       Constitution, by, inter alia, ordering, authorizing, maintaining, enforcing, tolerating,
  25
       ratifying, permitting, acquiescing in, and/or applying the policies and practices set forth
  26
       hereinabove. Defendants' conspiracy was and is motivated by animus directed against
  27
       Plaintiffs because of Plaintiffs’ race, color or national origin, and/or by the race, color,
  28

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   1   or national origin of persons with whom they associated, and/or by other class-based,
   2   invidiously discriminatory animus directed against Plaintiffs. In furtherance of the
   3   conspiracy one or more of the defendants committed one or more of the overt acts set
   4
       forth hereinabove which did in fact deprive Plaintiffs of equal rights, privileges or
   5
       immunities.
   6
             51. Defendants, and each of them, purposefully, under color of law, planned and
   7
       conspired to deny Plaintiffs equal protection of the laws in the following respects:
   8

   9                 a. to deny the right to be free from unreasonable search and seizure;

  10                 b. to deny the right not to be deprived of life, property or liberty without
  11         due process of law;
  12                 c. to deny the right of free speech;
  13                 d. to be free from use of excessive force.
  14
             52. By virtue of the foregoing, defendants, and each of them, violated 42 U.S.C.
  15
       §1985(2).
  16
             53. As a direct and proximate result of the foregoing, Plaintiffs have been
  17
       damaged as recited above and demand and isentitled to the damages recited above,
  18

  19   including, but not limited to, general and punitive damages (except entities) and

  20   attorney's fees.
  21                               FIFTH CAUSE OF ACTION
                                  (Violation of 42 U.S.C. §1985(3))
  22                         Against All Individually Named Defendants
  23         54. By virtue of the foregoing, Defendants, and two or more of them, conspired
  24
       for the purpose of:
  25
                     a. depriving Plaintiffs of (1) equal protection of the law; and (2) liberty
  26
             and property without due process of law.
  27
             55. Defendants, and each of them, did and caused to be done, an act or acts in
  28

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   1   furtherance of the object of the conspiracy, whereby Plaintiffs were deprived of the
   2   rights and privileges as set forth above.
   3         56. As a direct and proximate result of the foregoing, Plaintiffs are entitled to and
   4
       demands damages against defendants, jointly and severally, as recited in the First and
   5
       Second Causes of Action, including, but not limited to, general and punitive damages
   6
       (except entities) and attorneys fees.
   7
                                  SIXTH CAUSE OF ACTION
   8                    (California Constitution, Article I, §§ 1, 7, and 13)
   9                                 Against All Defendants

  10         57. The conduct of each defendant in detaining, searching, arresting, and
  11   assaulting Plaintiffs and in threatening and in doing or failing to do the other wrongful
  12   acts herein alleged was done for the purpose of interfering with and attempting to
  13   interfere with Plaintiffs’ rights to freedom of expression, to be free from unreasonable
  14
       invasions of their privacy and unreasonable search and seizure, and to be accorded due
  15
       process and equal protection under Article I, §§ 1, 7 and 13 of the California
  16
       Constitution.
  17
                                 SEVENTH CAUSE OF ACTION
  18                               (California Civil Code §52.1)
  19                                 Against All Defendants

  20         58. The conduct of each defendant in detaining, searching, and assaulting
  21   Plaintiffs and in threatening and in doing or failing to do the other wrongful acts herein
  22   alleged was done for the purpose of interfering with and attempting to interfere with
  23   Plaintiffs’ rights under the First, Fourth and Fourteenth Amendments and Plaintiffs’
  24
       right to freedom of expression, to be free from unreasonable invasions of his privacy and
  25
       unreasonable search and seizure and accorded due process and equal protection under
  26
       Article I, §§ 1, 7, 12, and 13 of the California Constitution, and for that reason violated
  27
       Plaintiffs’ rights under California Civil Code Section 52.1(b). Plaintiffs are informed
  28

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   1   and believe and thereon allege that the defendants’ wrongful acts were done maliciously
   2   and criminally and for the purpose of inflicting injury on Plaintiffs.
   3         59.    As the proximate cause of defendants’ and each of their conduct as
   4
       hereinbefore alleged, Plaintiffs have been damaged in an amount not presently
   5
       ascertained, but subject to proof at trial.
   6
             60. Plaintiffs are informed and believe and thereon allege that Defendants’ and
   7
       each of their conduct was malicious, willful, fraudulent and oppressive, done with a
   8

   9   conscious disregard for Plaintiffs’ rights and with the intent to injure Plaintiffs, thereby

  10   justifying the award of exemplary damages (except for entities) in a sum to be
  11   determined according to proof.
  12                               EIGHTH CAUSE OF ACTION
                                 (California Civil Code Section 51.7)
  13                                   Against All Defendants
  14
             61. Plaintiffs are informed and believe and thereon allege that the conduct of
  15
       each defendant in using force upon and injuring Plaintiffs and in threatening and
  16
       attempting to use force upon and injure Plaintiffs, and in doing or failing to do the other
  17
       wrongful acts herein alleged was motivated by defendants' invidious racial and/or ethnic
  18

  19   and/or other impermissible animus toward Plaintiffs, and for that reason violated

  20   Plaintiffs’ rights under California Civil Code § 51.7. Plaintiffs are informed and believe
  21   and thereon allege that the defendants’ wrongful acts were done maliciously and
  22   criminally and for the purpose of inflicting injury on Plaintiffs.
  23                                NINTH CAUSE OF ACTION
  24
                                       (Assault and Battery)
                                       Against all Defendants
  25
             62. At the date, time and location, defendants, and each of them, as either
  26
       employees, supervisors or employees in the course and scope of their duties
  27
       intentionally and maliciously abused Plaintiffs by reason of the acts alleged herein
  28

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   1   above causing Plaintiffs, without provocation, necessityor lawful justification, to suffer
   2   said violations of their civil rights.
   3          63. As a proximate result of the acts of defendants, and each of them, as herein
   4
       alleged, Plaintiffs were compelled to expend money all to their damage in an amount
   5
       according to proof.
   6
              64. As a proximate result of the acts of defendants, and each of them, Plaintiffs
   7
       were injured in health, strength and activity, sustaining injuries to body and shock and
   8

   9   injury to nervous systems and persons; all of which injuries have caused Plaintiffs to

  10   suffer severe pain and mental anguish.
  11          65. As a further proximate result of the acts of defendants, and each of them,
  12   Plaintiffs were required to and/or did employ physicians and surgeons for medical
  13   examination, treatment and care of injuries, and did incur medical and incidental
  14
       expenses. Plaintiffs did incur and will incur further treatment, the exact amount of
  15
       which is unknown at this time.
  16
              66. As a further proximate result of the acts of defendants, Plaintiffs were
  17
       prevented from attending to his usual occupations and thereby lost earnings and income.
  18

  19          67. The acts of defendants, and each of them, were willful, malicious and

  20   oppressive, in conscious disregard of Plaintiffs’ known rights and thereby justify the
  21   awarding of exemplary damages (except entities) according to proof.
  22                                TENTH CAUSE OF ACTION
                             (Intentional Infliction of Emotional Distress)
  23                                    Against all Defendants
  24
              68. Plaintiffs were entitled to the due care, service and protection of the entities
  25
       and their officers and medical staff.
  26
              69. On or about the dates alleged above and thereafter, Defendants caused the
  27
       Plaintiffs to be unlawfully detained, seized, beaten and/or otherwise abused without
  28

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   1   reasonable cause or justification.
   2         70. In doing the aforementioned acts, defendants’ conduct was intentional,
   3   outrageous, malicious, and done for the specific purpose of causing Plaintiffs to suffer
   4
       extreme emotional distress, indignity, fear, anxiety, and mental anguish.
   5
             71. As a direct and proximate result of the foregoing, Plaintiffs have suffered, and
   6
       continue to suffer, severe mental, emotional and physical distress and are entitled to and
   7
       demands damages against defendants.
   8

   9                          ELEVENTH CAUSE OF ACTION
                           (Negligent Employment Civil Code §1714)
  10                       Against Entities and Supervisor Defendants
  11         72. Defendant entities and supervisor defendants knew or in the exercise of due
  12   care should have known, that individually named defendants and Does 1 Through 30
  13   inclusive, and each of them, had a propensity, character trait, and practice for
  14
       dishonesty, deception, abuse of authority, harassment, and violence without justification
  15
       against Plaintiffs and other members of the public.
  16
             73. At all times material herein, said Defendant entities and supervisors knew or
  17
       with reasonable care should have known, that the aforedescribed traits of character,
  18

  19   practices and propensities of defendants and Does 1 through 30 inclusive, and each of

  20   them, made them unfit to serve as law enforcement officers.
  21         74.   Notwithstanding such knowledge, Defendant entities and supervisors
  22   negligently and carelessly employed and retained and failed to properly supervise, train
  23   and control defendants and Does 1 through 30 inclusive, and each of them, as employees
  24
       and assigned said defendants to duties which enabled each of them to abuse their
  25
       authority, including but not limited to making unlawful detentions and arrests by use of
  26
       excessive force, warrantless arrests, fabricating probable cause and crimes, causing the
  27
       fraudulent and malicious criminal prosecution of innocent persons while purporting to
  28

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   1   act under the color of law.
   2         75. As a proximate result of the negligent retention and supervision of defendant
   3   entities and supervisors and each of them, Plaintiffs suffered damages and injuries,
   4
       including but not limited to false arrests/detentions, beatings, malicious prosecutions,
   5
       severe mental anguish, emotional distress, severe embarrassment, financial losses, all
   6
       to the Plaintiffs’ damage in a sum according to proof.
   7
                                   TWELFTH CAUSE OF ACTION
   8                                (Negligence/Civil Code § 1714))
   9                                    Against All Defendants

  10         76. Plaintiffs allege that by the actions or omissions set forth above, all
  11   defendants failed to use and exercise reasonable care as is required by Civil Code §
  12   1714. In particular, defendants failed to exercise reasonable care in its conduct in the
  13   exercise of their duties.
  14
             77. As a proximate result of the negligence and carelessness of defendants, and
  15
       each of them, Plaintiffs suffered damages as alleged above in a sum according to proof.
  16
                                       INJUNCTIVE RELIEF
  17
             78. Plaintiffs are informed and believe and thereon allege that, unless enjoined,
  18

  19   as requested in the prayer, defendants will continue to engage in the unlawful acts and

  20   in the policies and practices described above, in violation of the legal and constitutional
  21   rights of the Plaintiffs. Plaintiffs face the real and immediate threat of repeated and
  22   irreparable injury and continuing, present adverse effects as a result of the unlawful
  23   misconduct, policies and practices of the defendants. Plaintiffs have no adequate and
  24
       complete remedy at law.
  25
                                              PRAYER
  26
              Wherefore, Plaintiffs pray judgment against defendants and each of them, as
  27
       follows:
  28

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   1      As to each cause of action at to each Plaintiffs as applicable:
   2         1. For general damages according to proof;
   3         2. For special damages according to proof;
   4
             3. For statutory damages under Cal. Civ. Code §§ 52(a) and/or (b), 52.1(b),
   5
       California Code of Civil Procedure 1021.5, and under any other applicable statute or
   6
       theory;
   7
             4. For punitive damages against each individual Defendant;
   8

   9         5. For attorney's fees pursuant to 42 U.S.C. §1988, California Civil Code §52.1,

  10   California Code of Civil Procedure 1021.5, and under any other applicable statute or
  11   theory;
  12         6. For costs of suit;
  13         7. Declaring, pursuant to 28 U.S.C. §§ 2201-2202 that the acts, policies, rules,
  14
       regulations, practices, customs, and usages that the defendants engaged in as set forth
  15
       above violate the legal and constitutional rights of the Plaintiffs.
  16
             8. Permanently enjoining defendants and their agents, employees, and successors,
  17
       and all persons in active concert or participation with defendants, from engaging in the
  18

  19   unlawful and unconstitutional acts, policies, rules, regulations, practices, customs, and

  20   usages set forth above.
  21         9. Placing the Maywood-Cudahy Police Department under the direct supervision
  22   and control of a receiver or special master to be appointed by the Court; directing the
  23   receiver or special master to review all existing written and unwritten policies and
  24
       procedures of defendants with respect to the acts, policies, rules, regulations, practices,
  25
       customs, and usages set forth above; directing the receiver or special master to modify,
  26
       amend, or revoke, or to confirm and enforce, existing policies and procedures and to
  27
       establish such new or additional written policies and procedures as may be necessary
  28

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   1   and proper; and directing the receiver or special master to implement and enforce
   2   appropriate written policies and procedures with respect to the following subjects,
   3   among others:
   4
                      a. Ensuring compliance with constitutional standards governing the use of
   5
             firearms, the use of force, the conduct of searches, and the use of deadly force.
   6
                      b. Providing adequate training, certification, and periodic recertification
   7
             of all officers in the lawful use of force, including firearms and other deadly
   8

   9         force.

  10                  c. Specifying departmentally approved weaponless control techniques,
  11         and providing for adequate training, certification, and periodic recertification of
  12         all officers in the use of such techniques.
  13                  d. Ensuring that members of the public injured by officers receive prompt
  14
             and appropriate medical care, and that their injuries are catalogued and recorded
  15
             in police reports and by photographs of all such injuries.
  16
                      e. Requiring that all persons in custody be transported to a hospital for
  17
             examination and treatment by a medical doctor whenever:
  18

  19                        i.     the person sustains a head injury, strikes his or her head on a

  20                               hard object, or sustains a blow to the head, regardless of how
  21                               minor any such injury may appear;
  22                        ii.    the person is choked or is subjected to any control hold
  23                               involving the neck, regardless of whether or not the person is
  24
                                   rendered unconscious;
  25
                            iii.   the person has any injuries that appear to require medical
  26
                                   attention;
  27
                            iv.    the person requests medical treatment, regardless of whether
  28

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   1                           or not the person has any apparent injuries.
   2             f. Prohibiting the use of saps in any circumstances, and prohibiting the use
   3       of head strikes and strikes to other vital areas of the body by batons or
   4
           flashlights, punches or kicks, except in cases where there is legal justification for
   5
           the use of deadly force.
   6
                 g. Requiring that searches be conducted in a manner which inflicts the
   7
           least amount of damage necessary in order to conduct an adequate search; that
   8

   9       officers be required to photograph or videotape the premises before and after each

  10       and every search; that officers return to their original location and condition all
  11       items displaced in any search; and that the Maywood-Cudahy Police Department
  12       pay for the repair or replacement of any property unnecessarily damaged or
  13       destroyed in the course of any search.
  14
                 h. Recording in writing each instance in which an officer is involved in the
  15
           use of force in arresting a suspect or in detaining any person, regardless of
  16
           whether an arrest is made.
  17
                 i. Requiring that any officer who participates in or witnesses any incident
  18

  19       involving the use of force by an officer shall prepare and submit a departmental

  20       report containing detailed information regarding the incident, including:
  21                    i.     A full description of the actions of the suspect or member of
  22                           the public which made the use of force necessary;
  23                    ii.    A full description of the specific force used or observed by
  24
                               the officer;
  25
                        iii.   A full description of any injuries or complaints of injuries
  26
                               sustained by the suspect or member of the public, including
  27
                               photographs or videotapes of the suspect or member of the
  28

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   1                            public;
   2                     iv.    A full description of any medical treatment received by and
   3                            any refusal of such treatment by the suspect or member of the
   4
                                public.
   5
                  j. Establishing a system that allows an immediate on-duty supervisor to
   6
           readily access a historical record of any officer who has used force in a period of
   7
           at least the last 5 years, including the identity of the officer(s) involved in the use
   8

   9       of force, the file number(s) of the report(s) in which the use of force is reported,

  10       and a description of the nature of the force used (e.g., "intentional head strike
  11       with baton"; "accidental head strike with flashlight"); requiring periodic review
  12       of such records for patterns of unjustified use of force by officers and institution
  13       of disciplinary proceedings where appropriate; requiring review of such records
  14
           whenever a supervisor prepares a departmental performance evaluation of any
  15
           officer; and requiring that performance evaluations include documentation of any
  16
           patterns concerning the unjustified use of force.
  17
                  k. Providing that, in any situation in which deadly force has been used by
  18

  19       an officer and death or serious injury has resulted, there shall be an administrative

  20       review of the use of force to determine whether it was in compliance with
  21       departmental policy and constitutional standards, and whether departmental
  22       policy should be modified in view of the circumstances surrounding the use of
  23       such force.
  24
                  l. Requiring that, in departmental investigations of officer-involved
  25
           shootings, other use of deadly force by officers, or complaints of officer
  26
           misconduct:
  27
                         i.     all percipient witnesses (including officers) be segregated
  28

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   1                            from each other as soon as practicable after the incident;
   2                     ii.    such witnesses not be permitted to discuss the incident with
   3                            any other witness until after all witnesses have been
   4
                                interviewed by departmental investigators;
   5
                         iii.   such witnesses not be informed of the contents or substance
   6
                                of the statements of other witnesses until after all witnesses
   7
                                have been interviewed by departmental investigators; and
   8

   9                     iv.    all witness interviews, including interviews of involved

  10                            officers, be fully and completely tape-recorded.
  11             m. Indexing by individual officer and maintaining files of complaints by
  12       members of the public, Cal. Govt. Code § 910 claims, and lawsuits concerning
  13       officer misconduct; adequately investigating such complaints, claims, and
  14
           lawsuits; and using such files to monitor the conduct of officers.
  15
                 n. Requiring psychological testing and counseling of officers with a record
  16
           of using unreasonable or excessive force, making false arrests, filing false
  17
           charges, engaging in related acts of dishonesty, or engaging in racially motivated
  18

  19       misconduct.

  20             o. Maintaining a promotional system which penalizes officers for instances
  21       of unjustified use of firearms or unjustified use of force, violence, sexual
  22       innuendo, dishonesty, racial or ethnic bias, or other misconduct.
  23             p.   Requiring dismissal of officers involved in instances of sexual
  24
           misconduct, and/or repeatedly involved in instances ofunjustified use of firearms
  25
           or unjustified use of force, violence, dishonesty, racial or ethnic bias, or other
  26
           misconduct.
  27
                 q. Requiring that, where an investigation discloses any improper use of
  28

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   1       force by an officer, particularly improper use of force which causes serious bodily
   2       injury as defined in Cal. Penal Code § 243, that matter should be referred to the
   3       District Attorney's Office for consideration of filing a criminal complaint.
   4
                 r. Requiring that, whenever any officer has been judicially determined to
   5
           have engaged in a violation of constitutional or civil rights, whenever a monetary
   6
           settlement has been made or a judgment has been rendered based on the use of
   7
           excessive force by an officer, or whenever any arrest has been made as to which
   8

   9       an officer claims to be the victim of a crime:

  10                    i.     a departmental investigation be conducted, regardless of any
  11                           earlier investigation or the findings thereof;
  12                    ii.    The investigators review all evidence introduced at trial or
  13                           provided to them by any person, and that they interview all
  14
                               known witnesses including Plaintiffs’ trial experts, and
  15
                               interview Plaintiffs’ counsel in any lawsuit alleging officer
  16
                               misconduct;
  17
                        iii.   a full report be made to the Chief of Police and to the receiver
  18

  19                           or special master with recommendations for or against

  20                           disciplinary or criminal sanctions against the officer.
  21             s. Directing that the defendants seek tangible ways (for example, through
  22       disciplinary measures) to establish the principle that racial and ethnic bias will not
  23       be tolerated within the Maywood-Cudahy Police Department, and that the
  24
           defendants establish an adequate program of cultural awareness training and
  25
           periodic retraining to eliminate racial or ethnic stereotypes for all officers.
  26
                 t. Directing that the defendants seek tangible ways to establish the
  27
           principle that gender bias and discrimination and sexual misconduct will not be
  28

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   1        tolerated within the Maywood-Cudahy Police Department, and that the
   2        defendants establish an adequate program of gender awareness training and
   3        periodic retraining to eliminate any and all gender discrimination and sexual
   4
            misconduct.
   5
            10. For such other and further relief as the Court may deem proper.
   6
       DATED: May 12, 2008
   7
                             CYNTHIA ANDERSON-BARKER
   8                          ELLEN HAMMILL ELLISON
   9                                OLU ORANGE
                                   ROBERT MANN
  10                             DONALD W. COOK
                                  ATTORNEYS AT LAW
  11

  12
                          By ___________________________________
  13                                   Donald W. Cook
  14                                Attorneys for Plaintiffs

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   1                           DEMAND FOR JURY TRIAL
   2        Plaintiffs hereby demand a jury trial.
   3   DATED: May 12, 2008
   4
                              CYNTHIA ANDERSON-BARKER
   5                           ELLEN HAMMILL ELLISON
                                     OLU ORANGE
   6                                ROBERT MANN
                                  DONALD W. COOK
   7                               ATTORNEYS AT LAW
   8

   9
                                By
  10                                    Donald W. Cook
                                     Attorneys for Plaintiffs
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